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December 14, 2023

VIA ECF

Honorable Rukhsanah L. Singh, U.S. Magistrate Judge
United States District Court- District of NJ

Clarkson S. Fisher Building & U.S. Courthouse

402 East State Street, Court Room 7W

Trenton, NJ 08608

Re: Inre: Johnson & Johnson Talcum Powder Products
Marketing, Sales Practices and Products Liability Litigation -
MDL 2738

Dear Magistrate Judge Singh:

We write on behalf of the Defendants to request a telephone
conference with the Court regarding the plaintiffs who have failed to comply
with the Court’s September 1, 2023, Order (Doc. 27291) as they have failed
to provide Plaintiff Profile Forms, medical records, and medical
authorizations by October 16, 2023. In other words, even though these
cases have been pending for at least six years, the basic case specific
discovery has not been supplied.

Following the passing of the October 16, 2023, deadline, we wrote to
counsel for the deficient plaintiffs to remind them of their failure to provide
the Court ordered discovery and provided a three-week extension to supply
the discovery. Over eight weeks have passed since the deadline of October
16, 2023, and a sizeable number of plaintiffs still have not complied with the
Court's September 1, 2023, Order (Doc. 27291). This group of plaintiffs
(cases filed in or transferred to the MDL in 2016 and 2017) was originally
compelled to provide the above noted discovery by October 20, 2021, per
the Court’s Order of April 20, 2021 (Doc. 19911), however, they have failed
to meet either deadline.

As such, in accordance with Local Civil Rule 37.1, Defendants
respectfully request a telephone conference with Your Honor to address

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these issues and to seek leave to file a motion to dismiss.

Attached as Exhibit A is a current list of plaintiffs who have failed to
comply with the Order of September 1, 2023 (Doc. 27291).

Thank you for your consideration of these matters.

Respectfully submitted,

/s/ Susan M. Sharko

Susan M. Sharko

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SMS/scg
cc: All Counsel of Record (via ECF)
